931 F.2d 54Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Leo JOHNSON, Petitioner-Appellant,v.William C. DUNCIL, Acting Warden, Huttonsville CorrectionalCenter, Respondent-Appellee.
    No. 91-7500.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 8, 1991.Decided April 26, 1991.
    
      Appeal from the United States District Court for the Northern District of West Virginia, at Elkins.  Robert Earl Maxwell, Chief District Judge.  (CA-90-145-E)
      Leo Johnson, appellant pro se.
      N.D.W.Va.
      DISMISSED.
      Before MURNAGHAN, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Leo Johnson seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, although we grant leave to proceed in forma pauperis, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Johnson v. Duncil, CA-90-145-E (N.D.W.Va. Dec. 4, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    DISMISSED
    